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                                    UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF PENNSYLVANIA


          Wellspring Worldwide Inc.,

                             Plaintiff,
                                                                Civil Action No. 2:18-CV-00757
                     v.
                                                                Magistrate Judge Lisa Pupo Lenihan
          Resolute Innovation, Inc.,

                             Defendant.


                                          JOINT STIPULATION OF DISMISSAL

                   Plaintiff Wellspring Worldwide Inc. and Defendant Resolute Innovation, Inc., by their

        respective counsel, hereby jointly notify the Court that the above-captioned action (“Action”) has

        been settled by agreement of the parties.

                   Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties jointly stipulate and notify the

        Court that all claims in the Action are hereby dismissed with prejudice and each party to the

        Action shall bear its own attorneys’ fees and costs.




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          Dated: December 14, 2018                    Respectfully submitted,


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